                   Case 4:20-cr-00455 Document 10 Filed on 08/28/20 in TXSD Page 1 of 3
                                                                                                            United States District Court
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                              Defendant                                     

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                   Case 4:20-cr-00455 Document 10 Filed on 08/28/20 in TXSD Page 2 of 3
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